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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
   LAURA LEE JACOBSON,

                          Plaintiff,

           -against-
                                                                      16-cv-4809-LDH-RML
   KINGS COUNTY DEMOCRATIC COUNTY
   COMMITTEE; JUDICIAL SCREENING
   COMMITTEE FOR THE DEMOCRATIC PARTY
   IN AND FOR KINGS COUNTY; FRANK R.
   SEDDIO Individually and in His Official Capacity as
   County Chair of the Kings County Democratic
   County Committee; MARTIN W. EDELMAN
   Individually and in His Official and Representative
   Capacity as Chairperson of the Judicial Screening
   Committee for the Democratic Party in and for Kings
   County; STEVEN R. FINKELSTEIN; STEVE
   DECKER; ABAYOMI O. AJAIYEOBA; and JOHN
   AND JANE DOES ## 1-20, so named as their
   identities are not yet known, intended to represent
   persons who had access to confidential records of
   and/or confidential candidate-interview by, the
   Judicial Screening Committee for the Democratic
   Party in and for Kings County pertaining to plaintiff,
   who disclosed such materials outside of the
   committee to defendant Seddio, defendant Kings
   County Democratic County Committee, defendant
   Kings County Democratic County Committee’s
   media consultant George Artz, members of the public
   and/or the media,

                     Defendants.
               DEFENDANTS’ RESPONSE TO PLAINTIFF’S OBJECTIONS
                       TO DEFENDANTS’ BILL OF COSTS

        Plaintiff relies on Local Civil Rule 54.1(c) to argue that Defendants here should not receive

 recompense for the transcripts of the two oral arguments before this Court prior to the formal filing

 of the underlying Motions to Dismiss. Although there was no trial in this case, the transcripts were

 critical to the issues raised before the Court because Plaintiff’s counsel made several significant

 concessions in those oral arguments and thus the transcripts were referenced several times in
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